                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:23-MC-00181-RJC-SCR


 HEATHER NICOLE DURHAM,                           )
                                                  )
                   Petitioner,                    )
                                                  )
 v.                                               )
                                                  )                      ORDER
 CITY OF CHARLOTTE,                               )
 CENTRALSQUARE TECHNOLOGIES,                      )
 LLC,                                             )
                                                  )
           Respondent and Movant.                 )



        THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for Andrew S. Koelz]” (Doc. No. 19) filed December 5, 2024. For the reasons set forth

therein, the Motion will be granted.


        The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel and to the Honorable Robert J. Conrad, Jr.


        SO ORDERED.                    Signed: December 5, 2024




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